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In the Anited States Court of Federal Claims

No. 14-925C
(Filed November 21, 2014)
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« U.S. COURT OF
JOHN DAVID McBRIDE, * FEDERAL CLAIMS
*
Plaintiff, *
Vv. *
*
THE UNITED STATES, *
*
Defendant. 7
*
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ORDER

On October 15, 2014, plaintiff filed a motion to proceed in forma pauperis.
The government submitted its response to the motion on November 6, 2014, three
days after the deadline to respond, and sought leave from the Court to file the
response late. Defendant argued that, after the November 3, 2014 deadline, it
discovered two prior decisions which denied Mr. McBride permission to proceed in
forma pauperis under the Prison Litigation Reform Act of 1995, 28 U.S.C.
§ 1915(g). Defendant has failed to articulate good cause for its failure to discover
those decisions before the November 3, 2014 deadline. Accordingly, defendant’s
motion for leave is DENIED.

IT IS SO ORDERED.

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